  8:05-cr-00237-LSC-FG3 Doc # 124 Filed: 06/01/06 Page 1 of 4 - Page ID # 467




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            CASE NO. 8:05CR237
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )           TENTATIVE FINDINGS
                                             )
PATRICK SMITH,                               )
                                             )
             Defendant.                      )


      The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant‘s objections thereto (Filing No. 121). The government has adopted the

PSR. (Filing No. 123.) The Court has also considered the Defendant’s motion for

downward departure (Filing No. 120) and the supporting brief (Filing No. 122). See Order

on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative Findings

are issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220

(2005), the sentencing guidelines are advisory.

Defendant’s Objections to Revised PSR

      ¶ 21 - Investigator Benak’s Statements - The Court is not at liberty to change an

investigator’s statements. The objection is denied.

      ¶¶ 24, 25, and 104-06 - Restitution for Lab Cleanup - The Defendant objects to

being responsible for restitution for methamphetamine laboratory cleanup costs.

      The Defendant pleaded guilty to Count II of the Indictment charging him with

possession of pseudoephedrine with intent to manufacture methamphetamine. The law

allows for an order of restitution “involving the manufacture of methamphetamine,” defined

as an offense including the manufacture of methamphetamine as a “necessary
  8:05-cr-00237-LSC-FG3 Doc # 124 Filed: 06/01/06 Page 2 of 4 - Page ID # 468




circumstance, condition, or consequence.” United States v. Gramling, 417 F.3d 891, 895

(8th Cir. 2005). See 21 U.S.C. § 853(q)(2). A conviction under 21 U.S.C. § 841(c)(1)

includes the element of intent to manufacture a “controlled substance.”

       However, Federal Rule of Criminal Procedure 11 provides that, at a change of plea

hearing, a defendant be informed of and indicate an understanding of the court’s authority

to order restitution. Restitution was not addressed in this case in the plea agreement or

at the plea hearing. (Filing Nos. 93, 98.) Therefore, the Court lacks the power to order

restitution. The objection is granted.

       ¶ 32 - First Three and Last Sentences - The Defendant argues that this language,

relating to methamphetamine manufacture and lab cleanup, should be deleted because

U.S.S.G. § 2D1.11(b)(3) (enhancement relating to discharge, emission, release, or

transportation of hazardous or toxic substances) does not apply.            Although the

enhancement does not apply, the objection is denied for the reasons stated in the

Addendum to the PSR.

       ¶¶ 54, 55 - Other Criminal Conduct - The Defendant objects to uncharged conduct

described in ¶ 54 and a dismissed charge described in ¶ 55. The objections are denied

for the reasons stated in the Addendum to the PSR.

Defendant’s Motion for Downward Departure

       The Defendant moves for a downward departure or deviation from the sentencing

guideline range based on overstatement of criminal history, U.S.S.G. § 4A1.3(b), and post-

offense rehabilitation, U.S.S.G. §§ 5K2.0(a)(1) & (a))(4); 18 U.S.C. § 3553(b)(1).




                                            2
  8:05-cr-00237-LSC-FG3 Doc # 124 Filed: 06/01/06 Page 3 of 4 - Page ID # 469




       Overstatement of Criminal History

       Despite the Defendant’s arguments set out in the brief in support of the motion, the

Court concludes that the motion should be denied on the basis of overstatement of criminal

history. The PSR reflects a history of violent offenses dating back as far as 1987 and

numerous misdemeanor offenses that do not warrant criminal history points. The Court

finds that criminal history category III adequately reflects the Defendant’s criminal history.

       Post-Offense Rehabilitation

       While the Defendant’s post-offense rehabilitation is commendable, the Eighth Circuit

has offered considerable guidance. The Eighth Circuit has stated that such efforts are

already considered under U.S.S.G. § 3E1.1 when the issue of acceptance of responsibility

is decided. United States v. Swick, 334 F.3d 784, 789 (8th Cir. 2003). And even more

importantly, the Eighth Circuit has stated that whenever it has affirmed a downward

departure based on extraordinary rehabilitation it has done so only when the rehabilitation

began before prosecution. Id. In this case, the Defendant’s rehabilitation began after he

was indicted, and he was obligated to begin treatment pursuant to his pretrial release

conditions. Therefore, the Court concludes that, in this case, the Defendant’s rehabilitative

efforts have been appropriately considered and rewarded through a three-level downward

adjustment for acceptance of responsibility. The motion is denied on this basis.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the Defendant’s Objections to the

Presentence Investigation Report (Filing No. 121) are granted in part and denied in part

as follows:

              a.     The objection to ¶¶ 24, 25, and 104-06 is granted;

                                              3
  8:05-cr-00237-LSC-FG3 Doc # 124 Filed: 06/01/06 Page 4 of 4 - Page ID # 470




              b.     otherwise, the objections are denied;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.     The Defendant’s motion for downward departure (Filing No. 120) is denied.

       DATED this 1st day of June, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




                                               4
